                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


 MICHAEL RANDOLPH, derivatively on
 behalf of CARBONITE, INC.,

                Plaintiff,

      v.


 MOHAMAD S. ALI, ANOTHONY
                                                       Civil Action No. 1:19-cv-12212
 FOLGER, STEVE MUNFORD, LINDA
 CONNLY, SCOTT DANIELS, DAVID
 FRIEND, CHARLES KANE, TODD
 KRASNOW, and MARINA LEVINSON,

                Defendants,

   -and-

 CARBONITE, INC.,

              Nominal Defendant.



    NOTICE OF PLAINTIFF’S VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 23.1(c) and 41(a), the Plaintiff Michael

Randolph, by his undersigned counsel, hereby moves this court for an Order voluntarily dismissing

this Action brought on behalf of Nominal Defendant Carbonite, Inc. (“Carbonite”), against

defendants Mohamad Ali, Anthony Folger, Stephen Munford, Linda Connly, Scott Daniels, David

Friend, Charles Kane, Todd Krasnow, and Marina Levinson (together with Carbonite, the

“Defendants”), without prejudice and with all parties to bear their own costs and fees. Counsel for

the parties have met and conferred regarding the issues raised in this Motion, and Defendants do

not oppose this Motion.



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Dated: January 20, 2020   LEVI & KORSINSKY, LLP
                          By: /s/ Shannon L. Hopkins
                          Shannon L. Hopkins (BBO No. 657485)
                          1111 Summer Street, Suite 403
                          Stamford, CT 06905
                          Tel: (203) 992-4523
                          shopkins@zlk.com

                          Gregory Mark Nespole
                          LEVI & KORSINSKY, LLP
                          55 Broadway, 10th Floor
                          New York, New York 10006
                          Tel: (203) 363-7500
                          Fax: (212) 363-7171
                          gnespole@zlk.com

                          Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

       I, Shannon L. Hopkins, certify that this document filed through the ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicates as non-registered participants on January 20, 2020.


Dated: January 20, 2020                                        /s/Shannon L. Hopkins
                                                               Shannon L. Hopkins




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